833 F.2d 1005Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mary D.S. PETERS, Plaintiff--Appellant,v.T.R. TROWELL;  James H. Moss, Defendants--Appellees.
    No. 87-1037.
    United States Court of Appeals, Fourth Circuit.
    Nov. 25, 1987.
    
      Before CHAPMAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Mary D.S. Peters, appellant pro se.
      Lee S. Bowers for appellee T.R. Trowell.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from that court's order accepting the magistrate's recommendation and dismissing the case is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Peters v. Trowell, C/A No. 1:86-39-8J (D.S.C. Jan. 9, 1987).
    
    
      2
      AFFIRMED.
    
    